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                                         IN THE UN1TED STATES DISTRICT COURT                I''···'" _,. "'
                                         FOR THE:~RJ:O~~~~S~~~F                  '1it'S~P -7 P!i           l,:   25

                 UN1TED STATES OF AMERICA                                        OEI'U1,   "'';".~)__-
                 v.                                                        Case No. 4:16-CR-132-A
                                                                           (Supersedes Indictment returned on
                 ASHLEY SIMPSON (32)                                       on Angus! 11,2016 adding defendants
                 JOSE PABLO MORALES (33)                                   Ashley Simpson and Jose Pablo Morales
                                                                           only.)

                                           FOURTil SUPERSEDING INDICTMENT

                 The Grand Jury Charges:

                                                           Count One

                              Conspiracy to Possess with Intent to Distribute a Controlled Substance
                                                 (Violation of21 U.S.C. § 846)

                            Beginning in or before January 2015, and continuing until in or around August

                 2016, in the Fort Worth Division of the Northern District of Texas, and elsewhere,

                 defendants Ashley Simpson and Jose Pablo Morales, along with Trae Short, also known

                 as Twig, and Nicole Cynthia Herrera, also known as Nikki Single, not named as

                 defendants herein, and others known and unknown, did knowingly and intentionally

                 combine, conspire, confederate, and agree to engage in conduct in violation of21 U.S.C

                 §§ 84l(a)(l) and (b)(l)(A), namely to possess with intent to distribute 500 grams or more

                 of a mixture and substance containing a detectable amount of methamphetamine, a

                 Schedule II controlled substance.




                 Fourth Superseding Indictment- Page I
                         •                                  •
Case 4:16-cr-00132-A Document 668 Filed 09/07/16            Page 2 of 3 PageID 2030




       In violation of21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(l) and (b)(1)(A)).



                                         A TRUE BILL.




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Assistant United States Attorney
Texas State Bar No. 24033206
801 Cherry Street, Suite 1700
Fort Worth, Texas 76102
Telephone: 817-252-5200
Facsimile: 817-252-5455




Fourth Superseding Indictment- Page 2
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                        IN THE UNITED STATES DISTRICT COURT
                                                                           •
                                                                         Page 3 of 3 PageID 2031




                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION



                             THE UNITED STATES OF AMERICA

                                                    v.

                                    ASHLEY SIMPSON (32)
                                  JOSE PABLO MORALES (33)


                        FOURTH SUPERSEDING INDICTMENT
                  21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(l) and (b)(1)(A))
           Conspiracy to Possess with Intent to Distribute a Controlled Substance
                                          I Count

A true bill rendered

DALLAS

Filed in open court this 7th day of September, 2016.
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Both defendants in Federal Custody.




                                 UNITED STATES MAGISTRATE JUDGE
                                 (Magistrate Number: 4:16-MJ-510 Ashley Simpson (32);
                                 4:16-MJ-521 Jose Pablo Morales (33))
